
ORDER GRANTING MOTION TO DISMISS
On June 7, 2002, the Petitioner’s Motion for Default Judgment against Respondent Brad Carson came on as regularly scheduled for hearing. The Petitioner appeared in person and pro se. The Respondent Brad Carson, who currently serves as a member of the United States House of Representatives from the State of Oklahoma, appeared specially by Greg Combs, Attorney at Law, P.O. Box 2200, Tahleq-uah, Oklahoma 74465.
The Petitioner has brought this action against the Respondent Carson, as a Cherokee Citizen, challenging his participation and support of HR-3534 in the United States Congress. The legislation relates to the settlement of claims of Indian-owned lands in the Arkansas River bed. The Respondent appeared specially to question the jurisdiction of this Court based upon asserted immunity under the “Speech and Debate Clause” of the United States Constitution.1 After oral argument, this Court allowed the parties to submit further written authority. The Court has received, reviewed and considered the briefs of the parties as submitted.
*14NOW, on this 31st day of July, 2002, the Court, having reviewed the files and record made in the case, having heard the argument of the respective parties and considered the written Briefs, FINDS: That the Petitioner has set out an action by his pleadings against the Respondent Brad Carson which brings into effect the “Speech and Debate Clause” of the United States Constitution;2 That the phrase “any other place” as contained in said Clause includes the Courts of the Cherokee Nation, Accordingly, Congressman Carson enjoys immunity from suit and cannot be compelled to appear and answer in these proceedings. For these reasons, this Court lacks jurisdiction over the person of the Respondent and his Motion to Dismiss must be granted.
IT IS THEREFOR ORDERED, that the Motion to Dismiss of the Respondent Brad Carson is hereby GRANTED.

. Article I, Section 6, Clause 1 of the United States Constitution:
"... for any Speech or Debate in either House, they [Members of Congress] shall not be, questioned in any other place,"


. Doe v. McMillan, 412 U.S. 306, 93 S.Ct. 2018, 36 L.Ed.2d 912 (1973)

